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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

In re:                                            *
                                                  *
KIM-OANH RIFE                                     *       Case No. 19-13910-KHK
                                                  *       Chapter 7
                                                  *
         Debtors.                                 *

                        TRUSTEE’S OBJECTION TO EXEMPTION

         Donald F. King, the Chapter 7 trustee in the above captioned case ("Trustee"), by

counsel, files this objection to exemptions claimed by Kim-Oanh Rife (“Debtor”), and, in

support thereof, states as follows:

         1.    The Trustee is the duly qualified and acting Chapter 7 trustee for this estate.

         2.    The Debtor owns as tenants by the entirety certain real property located at

15012 Gaffney Circle, Gainesville, Virginia (the “Property”). According to the Debtor’s

Schedule F, the Debtor has approximately $75,537.47 of joint priority unsecured debt.

         3.    The Trustee requested credit bureau reports (“Credit Reports”) for the

Debtor and the Debtor’s spouse at the meeting of creditors held on December 23, 2019, for

the purpose of confirming whether any other joint debts existed. To date, the Trustee has

not received the Credit Reports.

         4.    Pursuant to the Debtor’s Schedule C, the Debtor claims an exemption in the

Property in the amount of $207,500.00 based upon 11 U.S.C. § 522(b)(3)(B). Section

522(b)(3)(B) does not allow for an exemption in the amount of $207,500.00 or any other

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specific dollar amount. Rather, § 522(b)(3)(B) stands for the proposition that, under the

Bankruptcy Code, property owned by a husband and wife as tenants by the entirety is

exempt from individual claims against either the husband or the wife if applicable state law

provides for such an exemption.

       4.     In this case, the applicable law is Virginia. Under Virginia law, property

owned by a husband and wife as tenants by the entirety is protected from the claims of

individual (as opposed to joint) creditors. In this case, however, the Debtor is not entitled to

an exemption if joint debts exist. Accordingly, the Debtor’s exemption is improper and not

authorized by law.

       WHEREFORE, Donald F. King, Trustee, by counsel, requests that this Court enter

an order: (i) disallowing the Debtor’s exemption in the amount of $207,500.00 based upon

11 U.S.C. § 522(b)(3)(B), (ii) disallowing the Debtor’s exemption of the Property under

§ 522(b)(3)(B) and applicable Virginia law as to any joint debts, and (iii) for such other and

further relief as this Court deems just and proper.

                                                   Respectfully Submitted,

                                                   DONALD F. KING, TRUSTEE
                                                   By Counsel


By:          /s/ Donald F. King
       Donald F. King (VSB No. 23125)
       Counsel for Trustee
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that this Objection was served on January 22, 2020, upon
all registered users pursuant to this Court’s CM/ECF procedures.


                                           /s/ Donald F. King
                                           Donald F. King
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